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                               IN THE UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OKLAHOMA

 CHRIS WILLIAMSON,                                       )
                                                         )
                  Plaintiff,                             )
                                                         )
 vs.                                                     )       Case No. 08-CV-465-CVE-SAJ
                                                         )
 ACADEMY COLLECTION SERVICE, INC.,                       )
                                                         )
                  Defendant.                             )

                                             COMPLAINT

            COMES NOW, Chris Williamson, and demands judgment against the Defendants as

 follows.

                               PARTIES, JURISDICTION, AND VENUE

       1.      Plaintiff Chris Williamson (“Plaintiff” or “Williamson”) is a resident of Tulsa

               County, State of Oklahoma.

       2.      Defendant Academy Collection Service, Inc. (“Defendant” or “Academy”) is a

               foreign corporation registered to do business in the State of Oklahoma, and doing

               business within Tulsa County.

       3.      The events giving rise to this lawsuit took place within Tulsa County.

       4.      This Court has subject matter jurisdiction over Plaintiff’s claims, personal jurisdiction

               over the parties, and venue is proper in this Court.

                                 FACTS COMMON TO ALL CLAIMS

       5.      Academy is in the business of regularly collecting debt owed to others.

       6.      Academy undertook to collect personal debt from Plaintiff in January of 2008.




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    7.    In the course of attempting to collect debt from Williamson, Academy

          representatives, acting within the course and scope of their employment, committed

          the following acts:

          a.     Threatened to refer Williamson’s account to an attorney, harm Williamson’s

                 credit rating, commence repossession or garnishment, without any actual

                 intention of taking such action;

          b.     Made repeated telephone calls, and made telephone calls at unreasonable

                 times;

          c.     Used obscenities, racial slurs, and insults;

          d.     Misrepresenting the law of collections and misrepresenting that the debt

                 collector was educated in the law of collections;

          e.     Practicing law without a license;

          f.     Making intimidating, threatening, anonymous calls and engendering

                 legitimate fear for the safety of Williamson and his family;

          g.     Failed and refused to send written information about the debt allegedly owed

                 within five (5) days;

          h.     Failed and refused to provide mini-Miranda warnings during communications

                 related to debt collection;

          i.     Failed and refused to provide written verification of the debt despite properly

                 lodged dispute by Williamson;

          j.     Failed and refused to desist in prohibited collection efforts during dispute

                 period after properly lodged dispute by Williamson.




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     8.       The above-described conduct was reported to Academy, but there was no apology, no

              assurance of cessation of the conduct, no assurance of disciplinary action for those

              responsible, no offer to protect Williamson from such conduct, nor any other attempt

              to lessen the emotional distress caused by the conduct described in ¶7, above.

     9.       In fact, Williamson continued to receive threatening, harassing phone calls, and to

              endure additional conduct similar to that described in ¶7, even after having reported

              same to officials at Academy.

            COUNT I: VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT

     10.      The above-described conduct, and each instance thereof, amounts to a violation of the

              Fair Debt Collection Practices Act, 15 U.S.C. §§1692-1692p (“FDCPA”).

     11.      As a result of the actions of Academy, Williamson has suffered actual damages and

              statutory damages.

     12.      The amount in controversy requirement is waived by law under the FDCPA.

           WHEREFORE, Plaintiff prays the Jury award (i) damages consistent with law, in the

 maximum amount allowed by law and consistent with Plaintiff’s evidence, (ii) costs, interest,

 and attorney fees; (iii) such other and further relief as the Court deems appropriate and to which

 Plaintiff is entitled by law.




                                               __________________________________________
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